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Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 7 of 37 PageID #: 722
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Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 9 of 37 PageID #: 724
 PICTURE                                                                     PHOTO
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                                      METROPOLITAN POLICE DEPARTMENT


••                                    PHOTOGRAPH IDENTIFICATION FORM




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     Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 12 of 37 PageID #: 727
 ..
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                            TENNESSEE BUREAU OF INVESTIGATION
                           Forensic Services    Crime Laboratory
                                      3021 Lebanon Road
                                   Nashville, TN 37214
                                      ( 615) 741-447.6

                         OFFICIAL FIREARMS     IDENTI~ICATION    REPORT
TO :         MIHRELA SLOAN                                    LAB NUMBER:         97112538
             METRO NASHVILLE P.D.                             COUNTY:             DAVIDSON
             200 JAMES ROBERTSON PKWY                         DATE REPORTED:      06/08/98
             NASHVILLE, TN 37201                              AGENC"'( CA$E #:    97463792



SUBJECT {_fil_                                         VICTIMCS)
GARDNER, CHARLIE M.                                    AWAD, SAID
                                                       NEAL, OMARI JEVON
                                                       WRIGHT, DEMETRIUS LAZUAN
RECEIPT INFORMATION
RECEIVED FROM: C. HULLETT
DATE RECEIVED: 10/ 28/97
EXHIBIT NUMBER:   .              70043454
EXHIBIT DESCRIPTION:             BULLET
DI SPOS.ITION:                   HOLD, PLEASE PICK UP PROMPTLY
  EXAMINATION                      RESULTS
  BULLET EXAMINATION
    CALIBER OF BULLET              38/357
    TYPE OF BULLET                 ROUND NOSE LEAD
    RESULT COMMENT.S
                                                           ~
                                                                                             ..
      EXHIBIT # 70043454, 70043455, AND 70043456 (A&B) BULLETS WERE
      MICROSCOPICALLY EXAMINED IN CONJUNCTION WITH EACH OTHER. BASED ON
      THESE COMPARATIVE EXAMINATIONS IT WAS DETERMINED THAT:
             A. EXHIBIT ~ 70043455 AND 70043456 (A&B) BULLETS WERE FIRED THROUGH THE
             SAME BARREL.
             B. EXHIBIT # 70043454 BEARS THE SAME CLASS AND SIMILAR INDIVlDUAL     ..,
             CHARACTERISTICS AS EXHIBIT # 70043455 AND 7004'3456(A&B) BULLETS, AND
             COULD HAVE BEEN FIRED THROUGH THE SAME BARREL AS EXHIBIT # 70043455
             AND 70043456(A&B) BULLETS. HOWEVER, DUE TO THE MUTILATED CONDITION
             OF EXHIBIT # 70043454, A MORE CONCLUSIVE·'-IDENTIFICATION COULD NOT
             BE DETERMINED.

EXHIBIT NUMBER:                  70043455
EXHIBIT DESCRIPTION:             BULLET
DISPOSITION:                     HOLD, PLEASE PICK UP PROMPTLY




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                    OFFICIAL FIREARMS IDENTIFICATION REPORT
 LAB NUMBER:' . .   97112538
 DATE REPORTED:     06/08/98                                                  .PAGE:   2


   EXAMINATION                      RESULTS
   BULLET EXAMINATION
     CALIBER OF BULLET              38/357
     RESULT COMMENTS
       SEE RESULTS OF EXHIBIT # 70043454
EXHIBIT NUMBER:                70043456
EXHIBIT DESCRIPTION:           BULLETS     '•
DISPOSITION:                   HOLD, PLEASE PICK UP PROMPTLY
   EXAMINATION                       RESULTS
 \jULLET EXAMINATION        - ....
    . CALIBER OF BULLET              38/357
      TYPE OF BULLET                 ROUND NOSE LEAD
      RESULT COMMENTS
        SEE RESULTS OF EXHIBIT # 70043454

RESPECTFULLY SUBMITTED,

J.trn.1.IJ.   ~~
JONALD I . CARMAN
SPECIAL AGENT / FORENSIC SCIENTIST




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                     TENNESSEE DEPARTMENT OF HEALTH AND ENVIRONMENT
                         METROPOUTAN NASHVILLE DAVIDSON COUNTY
                                  Office of Medical .Examiner
                                  Forensic Sciences Center
                                     84 Hermitage Avenue
                               Nash-v ille, Tennessee 37210-21.1 0


     CASE: MEC#97-758
     County: Davidson
                                           FINAL AUTOPSY REPORT
                                                                                            . .
                                                                                             ~    .
     NAME OF DECEDENT: WRIGHT, DEMETf.UUS                  RACE: B           SEX: '. M.    AGE: 23

     HOME ADDRESS: 320. South~n Dr .•. Clarksville, TN

     DATE AND TIME OF DEATH: October·18, 1997 at 1:59 AM

     DATE AND TIME OF AUTOPSY: October 18, 1997 at 10:30 AM

            COUNTY MEDICAL EXAMINER:               Bruce P. Levy, M.D.

            FORENSIC PATHOL<DGIST:                 John E. Gerber, M.D.                               •I




                   ADDRESS: 84 Hennitage Avenue, Nashville, TN 37210-2110
                                  I                    '                 .
            DISTRICT ATTORN EY GENERAL: Hqnorable Victor S. Johnson

                   ADDRESS:           Washington Square, Suite 500, 2~2 2nd Avenue
                                      North, Nashvllle, TN 37201-1649'.

                                          PATHOLOGIC DIAGNOSES

t           1. Penetrating guil)shot wound of left upper back

                   a)   LaceraJion of left lung
                   b)   Lacerations of heart
                   c)   Lacerations of pericardium
                   d)   Left hemothorax - 2000 cc
                   e)   Hemopericardium - 75 cc

            2. Penetrating gunshot wound of left back

                   a) Lacerations of smpll bowel
                   b) Lacerations of mesentery



                                                                                          _____ .,_., .
                   c) Laceration of left kidney

                                                                   ..
         Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 15 of 37 PageID #: 730
WRIGHT, Dl;:METRIUS         MEC97-758
Page 2



       CAUSE OF DEATH: Multiple gunshot wounds of back

       MANNER OF DEATH:          Homicide
                                                                                                      .-I
         CIRCUMSTANCES OF DEATH:               This 23 year old black male was involved in an
alter.cation at a nightclub on the early morniqg of October 18, 1997 at which time lie suffered two
gunshot wounds to the back. Reportedly, the su.spect and the decedent had had an earlier dispute
at the same club a week earlier. The decedent w.as transported to Vanderbilt Univer$ity Medical
Cenler where he expired a short time after arrival iT the Emergency Room .




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    Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 16 of 37 PageID #: 731
       H1", r)EMETRIUS      MEC97-758
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   11erebY certify t~at I, John E. Gerber, MD. have performed an autopsy on the body of Demetrius
 ~dghf on    the eighteenth day of Oct_ober, 19?7 at 10:~0 AM in the Forensic Sciences Center of
oavidson Countr_. ~he purpose of this report 1s to provide_ a ~ertified 9pinion to the County Medical
Examiner and 01stnct Attorney General. The _facts and fmdmgs to supporl these conclusions are
filed with the Tennessee Department of Health.


                                    EXIERNAL EXAMINATION

EXTERIOR OF THE BODY:
Clothing: The body is received with clothes that consists of the following:
1) Black short sleeved shirt with the wo~d security on the back and #34 on the right sleeve.. In the
   mid-back, there are two 3/16 inch holes lined up vertically and separated by 3 3/4 inches.
2) Black quilted vest. On the mid-back, there are two 3/1 6 inch in diameter holes separated by 4
   inches. The holes in the shirt and the vest are consistent with the gunshot wounds on the back
   of the decedent.
3) Black pants.
4) Four white socks.
5) Two black shoes.

The body is normally developed and appears the given age. Rigor mortis is moderate in the jaws
and extremities. Livor mortis is posterior, purple and blanching. , The body is cold.

The head is shaved, but the hair is black. There is a mustache and goatee. The palpebral and
bulbar conjunctivae are clear. The corneas are clear. The irides are brown. The pupils are
unremarkable. The ears, nose, and mouth show no abnormalities but each ear is pierced in the
ear lobe. The teeth are natural and in good repair. The neck i$ of normal configuration, and there
ate no palpable masses.

The thorax is symmetrical and normal in configuration. The breasts are of normal configuration,
and there are no palpable masses. There is no nipple discharge. The abdomen is normal. The
back has a normal contour and the anus is without lesions. The rectum reveals no lesions and            .-.
contains medium brown stool. The external genitalia are of normal conformation, and there are no
external lesions. The penis is circumcised and both testes are descended.

The extremities appear normal, and the joints are not deformed. All digits are present. The skin is
of normal pliability and texture and appears no significant lesions. There is no icterus.

IDENTIFYING MARKS AND SCARS:
1. On the left arm is a professional tattoo "AIA".
2. On the right arm is a large figure 8 well healed scar.

INTERNAL AND EXTERNAL EVIDENCE OF MEDICAL THERAPY:
1. An endotracheal tube.
2. Three electrocardiogram leads on the anterior chest wall are present.




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                             MEC97-758



    Right subclavian intravenous line.
    Left antecubital intravenous line .

.exrERNAL EVIDENCE OF INJURY:                  .          .
rhe decedent has a total of two gunshot wounds. One ts to the left mid-upper back and the other
is to the left mid-back and each are penetrating wounds. Two bullets are recovered from the
decedent. There is no evidence of close _range gunfire on the skin surrounding the entrance
wounds.

1. Penetrating gunshot wound of left mid-upper back.
Entrance: In the left mid-back, 16 3/4 inches below the top of the head, 9 1/4 inches below the top
of the shoulder, and 1 1/2 inches to the left of mid line is a 3/16 inch in diameter oval entrance
gunshot wound with circumferential abrasion.
Range: Soot and gunpowder stippling are not seen on the skin around the entrance wound.
Direction: The missile has traveled from back to front, leftward and slightly downward.
Wound path: The bullet has passed through skin, soft tissue, skeletal muscle, posterior left 8th rib
with fracture of inferior margin, lacerated the left lobe of the lung, lacerated pericardium, lacerated
the posterior and anterior portions of the left ventricle of the heart, lacerat~d the _pericardium,
passed between the fourth intercostal space on the left, skeletal muscle.                   · ,
Missile recovered: A metal bullet with very mirimal deformity is recovered from the pleural space.
The bullet track is anterior 9 1/2 inches below the top of the shoulder and 3 inches to the left of
midline.                                                              ·                    · ····

Associated injuries: There is 2,000 milliliters of liquid and clotted blood in the left pleural space.
There are 75 cc of clotted blood in the pericardia! sac.

2. Penetrating gunshot wound of left mid-back.
Entrance: In the left mid-back, 22 inches below .the top of the head, 14 1/2 inches below the top of
the shoulder and 2 1/4 inches to the left of midline, is a 3/16 inch ovoid gunshot wound with a
slightly eccentric abrasion in the 9-3 o'clock position.
Range: Soot and gunpowder stippling are not seen on the skin around the entrance wound.
Direction: The missile has traveled from back to front, downward, and slightly leftward.
Wound path: The bullet has passed through skin, soft tissue, skeletal muscle, left of the lumbar
vertebrae #1 and 2, lacerated left kidney, small bowel, and mesentery, and skeletal muscle.
Missile recovered: A very minimally deformed metal bullet is recovered from the skeletal muscle of
the left abdominal wall 17 1/4 inches below the top of the left shoulder and 3 inches to the left of
rnidline.

Associated injuries: Peritoneal hemorrhage and intestinal contents in the peritoneum.

3. There is an abrasion 1/2 inch in greatest diameter on the right external ear. ln addition, there is
   an abrasion on the posterior aspect of the left leg 1 inch in diameter.

The above injuries, once having been described, will not be referred to below.




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                                   MEC97-758




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       me body 1s opened by    mean~ of the usual Y 1nc1s1on...The breasts are without lesions. The
       panniculus me~~ures 3 cm thick at th~ level of th~ umbilicus. The viscera of the thoracic and
       abdominal cavities are present in their normal sites. The serous surfaces are smooth and                · j
       glistening. There are no abnormal masses present. The diaphragmatic leaves are normally
       situated. The margins of the liver and spleen are in proper relationships to their costal margins.

       CARDIOVASCULAR SYSTEM:
       The heart weighs 340 grams and is normal in configuration.

       The coronary arteries have a normal anatomic distribution.         Multiple cross sections show no
       significant narrowing .of lumina and no evidence of thrombosis.

       The epicardium is smooth and glistening. There is a normal amount of subepicardial fat and its
       distribution is normal. The great vessels enter and leave the heart in a normal man.ner. The
       cardiac chambers are of normal configuration. The septa are intact and there. are no congenital
       anomalies. The myocardium is normal in consistency and appearance.

       The left and right cardiac ventricles measure 1.2 cm and 0.4 cm thick respectively. T~e heart
       valves are thin, pliable, delicate and are free of deformity.  ·
....
       The mitral valve measures 9 cm . The other valve qimensions appear within normal limits.

       The aorta and its principal branches are patent throughout.         There are no thrombi, areas of
       erosion, or zones of significant narrowing.

       The superior and inferior venae cavae and their major tributaries are patent throughout.          No
       significant areas of extrinsic or intrinsic stenosis are present.

       RESPIRATORY SYSTEM:
       The right and left lungs weigh 370 and 180 grams respectively. The major bronchi have a normal
       caliber and are free of obstruction.         ·

       The right and left lungs have a normal lobar configuration.       The visceral pleura ·is smooth and
       glistening. There are no subpleural emphysematou s bullae.

       The pulmonary arteries are free of thromboemboli. The lungs are not crepitant but are collapsed.
       The parenchyma is dark red throughout.

       HEPATOBIUARY SYSTEM:
       The liver weighs 1480 grams and has a smooth and glistening capsule. The liver configuration is
       normal. Multiple cro ss sections reveal a normal lobar pattern. The parenchyma is dark brown.

       The gallbladder is normal in size and configuration. The wall is thin and the mucosa is bile-stained.
       It contains 15 cc of bile. No calculi are present.




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ENDOCRINE SYSTEM:
The pancreas is of firm consistency and normally lobulated. Multiple cross sections reveal normal
tan-pink parenchyma without intrinsic lesions.

No abnormalities are present in the pituitary, thyroid or adrenal glands.

DIGESTIVE SYSTEM:
The tongue is not removed. The esophagus is free of lesions. The stomach has a normal
configuration. The serosa is smooth and glistening. The wall is of normal thickness and the
mucosa is thrown into tan rugal folds. There are no areas of ulceration. The stomach contains
200 cc of mushy yellow partially digested food particles with no visible pills, tablets, or capsules.
The duodenum is bile-stained and free of ulceration or other intrinsic lesions. The remainder of the
small bowel, colon and rectum is normal in appearance. There is medium brown stool in the
descending colon. The appendix is present at t e base of the cecum and is unremarkable.

KIDNEYS:
.The. right and left kidneys weigh 130 and 100 grams respectively and are similar. Th~ capsules
                                               1

strip with ease to reveal smooth subcapsular1surfaces.
                                              j
The renal arteries and veins are patent and tree of stenosing lesions. On section the renal cortices
are of normal thickness, and the corticomedullary demarcations are distinct. The medullae are
unremarkable.     The pelvicalyceal systems are normal in appearance.            The ureters are
unremarkable.

The urinary bladder is of normal configuration. The mucosa is intact and free of ulcerations or
other lesions. It contains approximately 5 cc of amber urine.

Multiple cross sections through the prostate reveal rubbery firm gray-white parenchyma free of
lesions. The seminal vesicles are unremarkable. The testes are both present within the scrotal
sac. Serial sections show a normal golden parenchyma.

HEMATOPOIETIC SYSTEM:
The spleen weighs 100 grams and has a normal configuration . The capsule is blue-gray ad
smooth without areas of thickening. On section the splenic pulp is of normal consistency and
appearance.

No abnormal lymph nodes are encountered except for anthracotic ones in the pulmonary hilar
region bilaterally.                                                            ·

The bone marrow is dark red and trabeculated without lesions.

MUSCULOSKELETAL SYSTEM:
The axial and appendicular skeleton shows no -abnormalities.           The exposed musculature is
unremarkable.




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 vVRIGHT, DEMETRIUS          MEC97-758
 page 7


NECK:
The neck organs are examined in situ and after being excised en bloc. The larynx and trachea
have a normal caliber and are free of obstruction. The mucosa of the larynx and trachea is soft
and pink-gray. The hyoid bone and thyroid cartilage are intact and without lesions. The
paravertebral musculature is unremarkable. The cervical spine is unremarkable.

HEAD AND CENTRAL NERVOUS SYSTEM:
The head is opened by means of the usuaf biparietal incision. The scalp shows no evidence of
contusions or subgaleal hemorrhage. The skull is intact. The dura is smooth and glistening. It is
not tense. It shows no lesions, and the sagittal and transverse sinuses are patent. After removal
of the brain and stripping of the dura mater, tl1e base of the skull does not demonstrate any
fractures. The convexities of the cerebral hemispheres are symmetrical. The leptomeninges are
thin and transparent. The subarachnoid space does not contain any hemorrhage.

The brain weighs 1, 140 grams. The cerebrum presents normal convolutions with mjld flattening of
the gyri and no deepening or widening of the sulci. There is no evidence of subfalcial, uncal or
                               I
cerebellar tonsillar herniation. The major cerel:iral arteries show no significant atherosclerosis and
appear to be patent throughout. The roots of the crania l nerves are unremarkable. Serial coronal
sections through the cerebral hemispheres show a grossly normal cortical ribbon and underlying
white matter. The corpus callosum, interral capsule, thalamus, basal ganglia and mamillary
bodies are without lesions. Serial cross sections through the brain stem and coronal sections
through the cerebellum fail to show any gross lesions or abnormalities. The ventricular system is
symmetrical and normal in size and configuration.



Signature   c~ c°.~~,M~                                     Date    /{~4 5 199.7
            2/JahnE. Gerber, M.D. '
               Associate Medical Examiner


/clc
T: 10-20-97




        Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 21 of 37 PageID #: 736
                       OFFICE OF THE MEDICAL EXAMINER
                              FORENSIC MEDICAL

                   REPORT OF MICROSCOPICAL EXAMINATION




Name of Deceased: Demetrius Wright                          MEC97-758

Date of Report:         October 28, 1997



Cardiovas.cular System:      A section from the sinoatrial node reveals no significant
pathology and no large central artery.

A section from the membranous septum in the region of the atrial ventricular node and
bundle of His conducting system reveals a bundle of His branch with no significant
pathology.

Hepatobiliary System:                A section of liver reveals the architecture to be
intact.
Endocrine System:             A section of the pancreas reveals exocrine and endocrine
elements without significant pathology.

Central Nervous System:       A section of the cerebellum reveals no significant
pathology.



JOHN E. GERBER, M.D.




/etc




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                                                                    DATE RECEIVED :    10/20/ 1997 08: 30
                                                                    DATE REPORTED ;    10/21/1997 11: 29

                  yri C AL LABORATOR I ES.INC
                                                                    CLIENT#        .   97-758/163730
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         5
             HIL.L AVENUE, NASHVILLE, TN 372 10                     INSTITUTION    : DR. BRUCE LEVY         oc1
    clP~:ne: (615) 255-2400 • Facs imilie: (6 15} 255-3030             2728        . FORENSIC MEDICAL
                                                                                     84 HERMITAGE AVE
o avtd L. Black, Ph.D., DABFI', DABCC
o .trector of Laboratort~                                                              NASHVILLE, TN 37210



                                           (40250)       ETHANOL/VOLATILES PROFILE

  ************************************************** *************************
    SPECIMEN SUBMITTED WAS ANALYZED FOR ETHYL ALCOHOL, METHYL ALCO~OL,
    ISOPROPYL ALCOHOL AND ACETONE USING GAS CHROMATOGRAPHY TECHNIQUES.   A
    POSITIVE REPORT IS ISSUED AFTER COMPARISON TO KNOWN STANDARD REFERENCE
    MATERIAL AND MATCHING RET~NTION T~ME DATA.  POS ITIVE SPECIMENS WILL BE
    RETAINED FROZEN FOR 366 o~rs FOLLOWING THE DATE OF THIS REPORT.
    ***************************************************************************
                               PROFILE RESULTS
                                                    I
                                  REASON FOR TEST: ' OTHER

                                                SPECIMEN:          WHOLE BLOOD
                                           VOLUME/WT:              lS+MLS
                                                               I
                                        TEST RESULTS:              NONE DETECTED


                                                             END OF REPORT




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                                                                                   Page 23 of 37 PageID #: 738
 Director of Laboratones
                                                                    DATE COLLECTED :   10/18/1997
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                                                                    DATE REPORTED :    10/21/1997 16: 52

         f,!J ALVTICAL LABORATORIES.INC
                                                                    CLIENT#        . 97-758/163730
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         34 s HILL AVEN UE. NJ\.SHYILLE, TN 37210                   INSTITUTION    . DR. BRUCE LEVY              'J
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  'feJclpflon.:: (615) 255-2400 • Facsimilie: (615) 255-3030             2728
                                                                                       84   HE~MITAGE AVE
oavfd L. Black, Ph.D .. DABFf. DABCC
otrector of Laboratories                                                               NASHVILLE,   TN 37210


                                                (40569) FORENSIC DRUG PROFILE
  ***************************************************************************
    SPECIMEN SUBMITTED WAS ANALYZED BY FORENSIC ANALYTICAL TECHNIQUES FOR THE
    FOLLOWING DRUG CLASSES:

                                                                  DRUG

    ACETAMINOPHEN                                                   OPIATES AND SYNTHETIC NARCOTICS
    AMPHETAMINES                                                    PHENCYCLIDINE (PCP)
    BARBITURATES/SEDATIVE HYPNOTICS                                 PHENOTHIAZINES
    BENZODIAZEPINES                                                 SALICYLATE
    CANNABINOIDS (URINE ONLY)                                       TRICYCLICS
    COCAINE

    POSITIVE DRUG RESULTS ARE REPORTED ONLY AFTER CONFIRMATION BY GAS
    CHROMATOGRAPHY/MASS SPECTROMETRY (GC/MS) OR A FORENSICALLY ACCEPTABLE
    ALTERNATIVE METHOD OF ANALYSIS.
    ***************************************************************************
                               PROFILE RESULTS
                                   REASON FOR TEST:                OTHER

                                                SPECIMEN:          SERUM
                                               VOLUME/WT:          lS+MLS
                                         TEST RESULTS:             NO DRUGS DETECTED
                                                                                                                             I


                                                               END OF REPORT




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                     ..




                                              State of Tennessee

           DEPARTMENT .OF CORRECTl'ON
               Investigation Report

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1:e~u:u£:.
  f.-...-:l--   __Charlie
                   ___    M. _
                             Gardner
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Hoorirg i:::ate : _ _                                      Cbur:t/Divisicn:      Criminal Divis ion III

Lefense Af:.trJr::ref: _E_
                         d _F_o_
                               l k_e_s_   _    _   _       Distr:tct Attocret:       Roger Moore
                                                                                                                      .·
Investig3.tirg Offio=r :._ _J_e_nn_ i_f _e r_Mo_o_r_e _    '.fyi;:e cf Report:   Presentence

Date Sbnitte:1: _         _ _7_1_9_
                                  19_9_   _ __ ....:.      D:x::ket #;    97-..D- 2814




<R-3495    (07/921          '§;
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      Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 25 of 37 PageID #: 740
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                                                                     DAVIDSON COUNTY CJ2
                                                                     GALE RAY   , SHERIFF




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                                                                                                              COURT INFORMATION
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                                                        Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 26 of 37 PageID #: 741
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       co uNT T l,,J () .• i~ l~:C I< l.:::: 5.:; ~~) A() nf-< A ~H~1 ·1 en P; e fl ~j l.iL. T
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CODSFENDANTS STA·1·us:
       THER( ARE NO                                                      CODFFENDA~TG                                     IN THIS CASE.

AGSNCY          STAlCMENT:
                                                                                                          ,
       THE FOLLOWING SUMMARY IS A COMPILATION                                                                                                                                                     O~       FACTS AS TAKEN FROM THE
       :n I~' ·r p I c: T                          !'~·:   ·r·r c~ r~~ i'~ t:: "r' , r~~ : : r:~ ~~ lJ '"~ E:~                    C} F F ~~.~ (~ T ~::;                    ~:·! i'~ ])             f··i E ·r j:~ D p !)L. I(~~~:                         F: F (~ t} f'{ 1/3 (: t)?:! pt. (~1 I hJ T


       ·r. t·i E.        :Df.' c ~::: (.':\ ~~; F: :n t.) J c~                            r r :,·~ ·' :ni::: f·i E: ·r H ~:~ ~J ~3                i... (~~ !~ ~..} ~·:.) ~~ ·i            i) :~~ :~: ~3 !··~ T          ,: 1-.! (~ ~::~        (1    ~; ::::   c: CJ iX I T y           (:;rr.) {~ f~ )J      r:~ T
       t:~L.t.t:t~         "(E:~::. ..rE~~~::r.1:·~iy· ·~:~                                   fJi"-.~   <.::~ .. ,:'.RK~3 1v1 1 L. L.~:::             ~··~~!:f;i··~t..JP;."(,                              T !··~~::             f)T~··1!~:F~        1·t. JC)         ~\.:Ic~·f·Ir·~:~i,             ~:i;'~):f.])
       AIJAD AND OMARI NEAL W~RE PATRGNG A·1· THAT SAMr CLUE. ALL THRE~ WER[
       I ;-~~~~I IJF ·r ]··~ ~:: f.~ L. tJ ):~ (J !\! J. (·) / l fJ / ·~~ '? (::Rt~ CJj\i :o :L : ~.:.:: ~:.:.; l~ ~!~ ~ ~ E:~ :·-.~ "f' }··~ r: :nE:. ;::·~:::NJ),::~?. .:r c(:! f?":t::                        ...:   .:

       r r·-.~ ·r c.t ·r ,. r('.: c: t..1.J I~                               !~ ~....~   :n
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       t,..)E. F~ ~:::      F. {; c: ~· 1 ~:·::: "J ~~~ LJ(;I< J f'( THE L.E: f3·                                                 I




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ARREST OFFENSE;                                      CRIMINA l 1·REPASS!NO
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c~ r.) ~·--~ ~.)r ~.~: . ,. F..n \J F. ~ F: c:: ,.j t::.· IJLJ L f~: J I J::: Hl..l G~~~ :                       i::·;:-~ (~ . (: fj c!··:: :r ~~ t~
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 SENTENCE!           $25~ F + C; 40-35-313 11/29 PROB.; fROB. REV.




   :Ci'; t;:n:n.r T :(CJr·~ TC) THI·:: tll:~RF:>;r I~~c:·c:i~Mf.\TION i ... IGff:O (~:B'.)i)E:, TH!'.:: FC)L.i...!..l:f.f-~G                                                                                                                                                                                                                                                ..\
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     VCK!FIED REASON FOR LEAVING:
     C~RTIF'ICAlf/DlPLOMA:




HEALTH INFORMATION:



     THF DEFCNDANT                                                 Th~SCR!B£S                             DO TH                ~l!S              PRESENT PHYSICAL AND MENTAL HEALTH AS
     !if::)<f::;;::L. L. ~~~~·.!'?'              ri;               i..~r::      !~t::PJJf~·;·~3                 NU ;..f;:::r.:~L. 'I'i"~                    PRC.i1?!...f:~f"1~>,                r'':.)(~.J.:D   I~:~    :·~C)T        c;tJF(f. ~r;:N·r·! ... Y
     "j' ~1   KJ f'i ~:.;        f.~~ r~    v          t~it::   :o I c~ t~ TI fJ Nb ~
     T} i ::::·    ~Di~:~ F 1::: f'.j Jif·~ ~·-! T                 F' J      F~ ~:)   r :_; ~:~; r~ J3       (.~ ~ ..{~ c; ~. ~ c; L.            :~\   ·r         T ~··it:: r:.: (}f: {) r:· ;.~~ (:j (j f~ ~~ 1 .   i"i E: :oE: ~~ c~ RJ :l:~;;:~ 5..)
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                                                                   P~ST
     :cf\:: l.i r:~ f:) '               i··~ T :::.~        ~i {~ F~ ~~ ,.J Lit. r·~ {:·, l. j f~ El (.~ ·r ·r ,..~ ~::: (.~ GiE:: {) ;.:· :~~ (~ :
                                                          ~::· J r~ ~:> l             l.J ::;) ~~: 1) F                                             !..; I :::) L !:!~ ~' T
     R~POkfED                               USE Of MARIJU~NA WAS IN LATE 1997. ·




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    crrY!                  NASHVILLE




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EMPLOYMENT INFORMAlION:



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      t~E ~;} \JL.r:~~H }~i:~~:>Jf)                !         ~·iE~ :Di:'.:~)(~ RI};f~~:D 1·~J:3 r:i'i P1... f)~fe~;i:~r~~·r ,..!I~:>·ro~~'( A ~=~                        ~j()l?~()· o:o:n ~J(i~B~:~
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                    ~vrr>GON        COUNT'{         CfHi'Hl°\!(~t l..       COURT CL.f.f~K i:. E.ES
              M~fRO POLICE RECORDS
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                     Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 32 of 37 PageID #: 747
                                                    CRIMINAL APPEARANCE RECOGNIZANCE




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                         Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 33 of 37 PageID #: 748
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/I. ftcr considering the evidence, the entire record , and all factors In T.C.A. Title 40, Chapter 35, nil o f which nrc incorporated by reference herein,
the Court's fi ndi ngs and nrlings arc:


     ~cntence Reform Acl of t9119                                                                                                                               Concurrent with:

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                      Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 34 of 37 PageID #: 749
 $        __      - - ---· Supervl~ion                                                          Addres'·----------------- -- -- -----
                             CASE NO. 95-D-2560A




          -rroRNEY GENERAL WHO PROSECUTES FOR THE STATE AND THE DEFENDANTS IN PERSON,
        p~ESENTED BY COUNSEL, ALSO THE JURY HERETOFORE IMPANELED IN THIS CAUSE WHO WERE
     sTEROAY RESPITED FROM THE FURTHER CONSIDERATION OF THE CAUSE ON TRIAL UNTIL THE
    ~NG OF COURT TODAY CAME HERE INTO OPEN COURT AND RENEWED THEIR CONSIDERATION OF THE
cAfse ON TRIAL, AND THE AFORESAID JURORS HAVING TAKEN TIME TO CONSIDER OF THEIR VERDICT
ArORESAID, UPON THEIR OATH AFORESAID, DO SAY: THAT THEY FIND THE DEFENDANT GARDNER GUilTY
OF COUNT ONE FACILITATION TO SELL OVER .5 GRAMS COCAINE AND GUi lTY OF COUNT TWO CRIMINAL
TRESPASSING AND THAT THEY FIND THE DEFENDANT HOWSE GUILTY OF COUNT ONE FACILITATION TO
SELL OVER .5 GRAMS COCAINE AND GUilTY OF COUNT TWO CRIMINAL TRESPASSING.

THEREUPON, THE JURY WAS DISCHARGED.

FURTHER, THIS CAUSE IS CONTINUED FOR SENTENCE HEARING UNTIL OCTOBER 7, 1998AT1:00 P.M.

ED FOWLKES, ATTORNEY FOR DEFENDANT GARDNER

JOHN RODGERS, JR., ATTORNEY FOR DEFENDANT HOWSE

ROGER MOORE , ASSISTANT DISTRICT ATTORNEY




      Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 35 of 37 PageID #: 750
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    IDENTIFICATION OF THE FOLLOWING PERSON:
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     No.Lf-                                                            Gord(Je~~1e )'YJ
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    IDENTI FI CATION




    Case 3:14-cv-01440 Document 16-6 Filed 01/20/15 Page 36 of 37 PageID #: 751
.~\•:                                                                                   TENNESSEE BUREAU OF INVESTIGATIONS
                                                                                           Forensic Services-Crime Laboratory
 Nashville                                                                   Knoxville                                                                          Chartanooga                                                     Jackson
 3021 Lebanon Road                                                           State Office Bldg.                                                                 540 McCallie Ave .                                              225 M . ..i.. King t:livd.
 Nashville. TN 37214                                                         6 17 W. Cumberland Ave.                                                            P .0 . Box 6309                                                 P.O. Box 421
 615-741 ·4476                                                               Knoxville, TN 3790:2                                                               Chattanooga, TN 37401·6309                                      Jackson. TN 39302-042 1
                                                                             423-594-6209                                                                       423·634-3060                                                    901 ·423·6591

                                                                                                          REQUEST FOR EXAMINATION

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to the Laboratory on this case? No
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